                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

SECURITIES AND EXCHANGE
COMMISSION,

                    Plaintiff,                              Case No. 3:12-cv-519

        v.

REX VENTURE GROUP, LLC d/b/a
ZEEKREWARDS.COM, and PAUL BURKS,

                    Defendants.



     MEMORANDUM IN SUPPORT OF MOTION TO VACATE ORDER STAYING
           DISSOLUTION OF FEBRUARY 12, 2016 FREEZE ORDER

        Non-Party Banca Comerciala Victoriabank SA (“Victoriabank” or the “Bank”) hereby

submits its Memorandum in Support of Motion to Vacate Order Staying Dissolution of February

12, 2016 Freeze Order.

                                     INTRODUCTION

        This proceeding began on February 11, 2016, when the Receiver filed an ex parte motion

under seal (the “Receiver’s Motion” [ECF No. 469]) requesting, among other court actions: (1)

an order finding Victoriabank, a foreign commercial bank organized under the laws of Moldova,

jointly and severally liable for an amount in excess of $13 million; (2) an order finding

Victoriabank in contempt of the Court’s August 17, 2012 Order Freezing and Preserving

Receivership Assets (the “2012 Freeze Order” [ECF No. 4, as amended by ECF No. 21]); and (3)

pending the resolution of the two prior requests, an immediate freeze of more than $13 million

held in Victoriabank’s correspondent bank account at Bank of New York Mellon in New York




31462069v2

             Case 3:12-cv-00519-GCM Document 608 Filed 05/30/17 Page 1 of 9
(the “BNYM Account”).          On February 12, 2016, the Court entered an Order freezing

$13,174,015.48 in funds held in the BNYM Account (the “2016 Freeze Order” [ECF No. 470]).

        All of this activity took place with no notice to Victoriabank, and no opportunity to be

heard in connection with or even object to the Court’s entry of the 2016 Freeze Order. Rather,

once the proceedings were unsealed, Victoriabank was presented with a fait accompli – hauled

into a proceeding in a jurisdiction in which it had no presence and did no business, and with over

$13 million of customer funds in its correspondent banking account frozen.

        Almost fifteen months later, on May 3, 2017, after extensive briefing, two court hearings

and substantial jurisdictional discovery, the Court ruled (correctly) that it had no jurisdiction over

Victoriabank. The Court denied the Receiver’s Motion and vacated the 2016 Freeze Order

(“May 3, 2017 Ruling”). (See May 3, 2017 Hearing Tr. at 45:10-24.)

        The Receiver filed a Notice of Appeal on May 23, 2017. [ECF No. 604.] On May 25,

2017, the Court, upon its own motion, entered an order (the “Stay Order” [ECF No. 606]) staying

its dissolution of the 2016 Freeze Order pending the conclusion of the Receiver’s Appeal.

        Under the applicable rule, Fed. R. Civ. P. 62(c),1 the Stay Order could only have been

entered if the Receiver had made the following showings: (1) That the Receiver is likely to

succeed on the merits; (2) That the Receiver will be irreparably injured absent a stay; (3) That

Victoriabank would not suffer substantial injury upon issuance of a stay; and (4) That the public

interest weighs in favor of a stay. The Receiver has made no such showings. Moreover, as

detailed in this Memorandum, the Receiver cannot make any of these showings, and,

accordingly, the Stay Order should be vacated.

1
  “While an appeal is pending from an interlocutory order or final judgment that grants,
dissolves, or denies an injunction, the court may suspend, modify, restore, or grant an injunction
on terms for bond or other terms that secure the opposing party’s rights.” Fed. R. Civ. P. 62(c).
                                                -2-
31462069v2

             Case 3:12-cv-00519-GCM Document 608 Filed 05/30/17 Page 2 of 9
                                           ARGUMENT

        A freeze order is an injunction. Charlesbank Equity Fund II, Ltd. P’ship v. Blinds To Go,

Inc., 370 F.3d 151 (1st Cir. 2004). A final or interlocutory order in an action for injunction is not

automatically stayed upon appeal; rather, such a ruling takes effect immediately. Fed. R. Civ. P.

62(a)(1). The Court did decide to hold the May 3, 2017 Ruling in abeyance for thirty (30) days,

in order to give the Receiver the opportunity to decide whether or not to appeal, but in order to

maintain the 2016 Freeze Order while the appeal was pending the Receiver was required to move

under Rule 62(c), pursuant to which the district court may “suspend, modify, restore, or grant an

injunction” pending appeal. However, “a party requesting a stay under Rule 62(c) is not entitled

to a stay as a matter of right; rather, Rule 62(c) allows a district court, within its discretion, to

stay the execution of a judgment pending appeal.” Curley v. Adams Creek Assocs., 2010 U.S.

Dist. LEXIS 110153, at *5 (E.D.N.C. Oct. 15, 2010) (emphasis in original). In exercising its

discretion to grant an injunction pending an appeal, a district court must evaluate four factors

(the “Hilton Factors”).

        [T]he factors governing issuance of a stay are: “(1) whether the stay applicant has
        made a strong showing that he is likely to succeed on the merits; (2) whether the
        applicant will be irreparably injured absent a stay; (3) whether the issuance of the
        stay will substantially injure the other parties interested in the proceeding; and (4)
        where the public interest lies.”

Underwood v. Harkleroad, 2010 U.S. Dist. LEXIS 10842 (W.D.N.C. Jan. 19, 2010) (Mullen, J.)

(quoting Hilton v. Braunskill, 481 U.S. 770, 776, 107 S. Ct. 2113, 95 L. Ed. 2d 724 (1987)). The

party seeking an injunction pending appeal bears the burden of persuasion. Curley, 2010 U.S.

Dist. LEXIS 110153, at *6.

        The Hilton Factors are substantially identical to the factors a district court must evaluate

when ruling on a request for injunction in the first place. The party seeking the injunction has

                                                -3-
31462069v2

             Case 3:12-cv-00519-GCM Document 608 Filed 05/30/17 Page 3 of 9
the burden to establish that each factor supports the granting of an injunction. Campbell Sales

Group, Inc. v. Gramercy Park Design, LLC, No. 1:10CV55, 2010 WL 3945350, at *3 (M.D.N.C.

Oct. 6, 2010); see also Rum Creek Coal Sales, Inc. v. Caperton, 926 F.2d 353, 359 (4th Cir.

1991). Likewise, in this setting, the Receiver bears the burden of showing that each factor

supports the maintenance of the 2016 Freeze Order during the pendency of his appeal – failure

on any one of them will require that Order to be dissolved, in accordance with the May 3, 2017

Ruling.

          Here, the Receiver has not even applied for a stay pending appeal pursuant to Fed. R.

Civ. P. 62(c), must less offered any justification for the Court to enter such an order. In fact,

each of the Hilton Factors weighs strongly against the maintenance of the 2016 Freeze Order

pending appeal.

          A.     The Receiver Cannot Make a Strong Showing that He Will Succeed on
                 Appeal.

          This Court has already ruled that it does not have jurisdiction over Victoriabank, and that,

therefore, the Receiver’s Motion must be dismissed and the 2016 Freeze Order dissolved. This

ruling was made less than a month ago. Nothing new has emerged since the May 3, 2017 Ruling

that would suggest that the Receiver will prevail. To the contrary, that Ruling was made after

extensive briefing and argument, with the Receiver having been granted the opportunity to take

discovery, including an all-day deposition of Roman Balanko, extensive document discovery

from Payment World USA and Bank of New York Mellon (“BNY Mellon”), and an affidavit in

lieu of deposition from a representative of BNY Mellon. This jurisdictional discovery fell within

the broader context of nearly four-and-a-half years of intensive investigation by the Receiver,

which included substantial involvement by the United States Department of Homeland Security,


                                                  -4-
31462069v2

             Case 3:12-cv-00519-GCM Document 608 Filed 05/30/17 Page 4 of 9
Secret Service, Department of Justice, Securities and Exchange Commission, and significant

analysis by a team of forensic accounting experts.2

        Despite this lengthy investigation and discovery, along with extensive legal briefing and

argument, the Receiver was unable to convince this Court that it has personal jurisdiction over

Victoriabank. It is impossible to conceive how the Receiver could make a strong showing of a

likelihood of succeeding on appeal under these circumstances.

        Because the Receiver has not shown any likelihood that he will succeed on the merits of

his appeal, the Stay Order should be dissolved.

        B.       The Receiver Cannot Show Irreparable Injury Absent a Stay Pending
                 Appeal.

        The Receiver cannot show irreparable injury.        He seeks money – and money is

indisputably available. After all, the 2016 Freeze Order applied to the BNYM Account, and the

discovery of BNY Mellon conducted by the Receiver showed that the account contains ample

funds in the event the Receiver ever has any need of them. There is simply no indication that

funds would be unavailable to satisfy a judgment against Victoriabank at some point in the


2
  See, e.g., February 1, 2016 Receiver’s Status Report for the Quarter of 2015 [ECF No. 451], at
1-2 (“During the third quarter, the Receiver Team continued to work with FTI [forensic
accounting consultants] and various government agencies to collect and analyze documents and
information to support its recovery of Receivership Assets.”); Affidavit of Corenliu Popovici
(“Popovici Aff.”) filed April 19, 2016 [ECF 495-1], Exs. C and D (attaching correspondence sent
by United States Department of Homeland Security to Victoriabank on Receiver’s behalf);
Affidavit of Michael Busen (“Busen Aff.”) filed May 27, 2016 [ECF No. 521-1] (supporting
Receiver’s Response in Opposition to Victoriabank’s Motion to Dismiss and providing analysis
of FTI managing director); Hearing Tr. 29:9-16 (“We enlisted the services of the Department of
Homeland Security, that is, the Secret Service. . . . We deferred a good long time to the federal
authorities hoping that whether it’s the Securities and Exchange Commission, the Department of
Homeland Security, the Department of Justice, the Department of State, that somebody with
probably more pull that we could get some cooperation out of Moldova Bank and
Victoriabank.”); Consent Motion for Extension of Briefing Schedule (“Consent Mot. for Ext.”)
[ECF No. 578], ¶ 4 (contemplating FTI’s analysis of documents produced by BNY Mellon).

                                              -5-
31462069v2

             Case 3:12-cv-00519-GCM Document 608 Filed 05/30/17 Page 5 of 9
future, in the unlikely event (1) that the Fourth Circuit reverses, (2) the Receiver proves that

Victoriabank is in fact subject to this Court’s jurisdiction, and (3) that the Receiver proves

Victoriabank was subject to and violated the 2012 Freeze Order.

         Because the Receiver has not shown irreparable injury, the Stay Order must be dissolved.

         C.      The Issuance of a Stay Pending Appeal Substantially Injures Victoriabank
                 and its Customers.

         Victoriabank has already been substantially harmed by the 2016 Freeze Order and will

continue to be harmed by the Stay Order. Over $13 million in funds in the BNYM Account have

been restrained for more than 15 months. As indicated in the Declaration of David S. Wildner

(“Wildner Decl.”) filed March 24, 2017 [ECF No. 593-2], the funds in that Account at any given

time belong to customers of Victoriabank (or US-based customers of those customers) who

engage in US Dollar-denominated international financial transactions. (See, e.g., Wildner Decl.

at ¶ 6; see also BNYM_VB_000010 and BNYM_VB_000014, contained in Ex. H to the Wildner

Decl.)

         The restraint of Victoriabank’s funds pursuant to the 2016 Freeze Order was imposed in

the complete absence of any judgment holding Victoriabank liable for the amounts restrained3 or

any finding that a United States court is even entitled to exercise jurisdiction over Victoriabank.

Now, the Stay Order serves to extend the prejudgment restraint of a substantial sum of

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  “[W]here a plaintiff creditor has no lien or equitable interest in the assets of a defendant debtor,
the creditor may not interfere with the debtor’s use of his property before obtaining judgment.”
United States ex rel. Rahman v. Oncology Assocs., 198 F.3d 489, 496 (4th Cir. 1999) (citing
Grupo Mexicano De Desarrollo v. Alliance Bond Fund, 527 U.S. 308 (1999)). It is undisputed
that no Receivership Assets have been on deposit at Victoriabank or its BNY Mellon
correspondent bank account since November 2, 2015 – at least 3 months prior to the entry of the
2016 Freeze Order. Supp. Popovici Aff., ¶9. Therefore, the Receiver cannot possibly have a lien
or equitable interest with respect to any funds on deposit at Victoriabank or its BNY Mellon
correspondent bank account and the 2016 Freeze Order and Stay Order constitute unlawful
prejudgment restraints of Victoriabank’s funds.

                                                -6-
31462069v2

             Case 3:12-cv-00519-GCM Document 608 Filed 05/30/17 Page 6 of 9
Victoriabank’s funds following an express finding by this Court that it lacks jurisdiction over

Victoriabank.

         The harm inflicted on Victoriabank by the 2016 Freeze Order and Stay Order is

particularly stark in that the Court has never required the Receiver to post a bond as security for

the $13 million frozen in Victoriabank’s BNY Mellon correspondent bank account.

Accordingly, should the Court decline to vacate the Stay Order, it should at least require the

Receiver to post a bond in the amount of the funds unlawfully restrained. See Fed. R. Civ. P.

62(c).

         Because the Stay Order simply serves to exacerbate substantial harm already caused to

Victoriabank, it must be dissolved.

         D.      The Public Interest Weighs Against a Stay Pending Appeal.

         International commerce depends upon and is greatly facilitated by correspondent banking

relationships. (See Wildner Decl., ¶ 6.)      The prospect of a court-appointed receiver interfering

with such international commercial transactions world-wide by freezing funds in a foreign

bank’s correspondent account without even establishing jurisdiction over that bank, or the bank’s

liability harms international commerce, and the customers of foreign banks who rely upon

correspondent banking relationships to transact international business. Furthermore, a court-

appointed receiver’s ability to obtain a pre-judgment restraint of funds without establishing

liability or personal jurisdiction threatens due process itself.

         Because the Stay Order harms the public interest in reliable and stable international

banking and the preservation of due process, it must be dissolved.




                                                 -7-
31462069v2

             Case 3:12-cv-00519-GCM Document 608 Filed 05/30/17 Page 7 of 9
                                        CONCLUSION

        For the reasons stated above, Victoriabank respectfully requests that this Court grant

Victoriabank’s Motion to Dissolve Order Staying Dissolution of February 12, 2016 Freeze

Order. Alternatively, Victoriabank requests that this Court require the Receiver to post a bond

pursuant to Fed. R. Civ. P. 62(c) in the amount of $13,174,015.48. Victoriabank also requests

that the Court recommend to the Fourth Circuit that the Receiver’s appeal be expedited.

        Respectfully submitted, this 30th day of May, 2017.



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                                               -8-
31462069v2

             Case 3:12-cv-00519-GCM Document 608 Filed 05/30/17 Page 8 of 9
                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing MEMORANDUM IN SUPPORT OF MOTION TO

DISSOLVE ORDER STAYING DISSOLUTION OF FEBRUARY 12, 2016 FREEZE

ORDER was electronically filed with the Clerk of Court using the CM/ECF system, which

automatically serves notification of such filing to all counsel of record.

        This 30th day of May, 2017.



                                                        s/ Kiran H. Mehta
                                                      Kiran H. Mehta
                                                      North Carolina Bar No. 11011




                                                -9-
31462069v2

             Case 3:12-cv-00519-GCM Document 608 Filed 05/30/17 Page 9 of 9
